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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

SHAKUR W. STEWART,                                §
                                                  §
         Plaintiff,                               §
                                                  §
v.                                                §          Civil Action No. 3:20-cv-00497-M
                                                  §
JOHN COUGHLIN and the CITY OF                     §
DALLAS,                                           §
                                                  §
         Defendants.                              §
                                                  §

                                              ORDER

         The parties have advised the Court that a tentative settlement has been reached subject to

a proceeding on November 8, 2023. The pretrial conference set for November 1, 2023, is

cancelled. If the case is not settled, responses to motions in limine will be due by 12:00 p.m. on

November 10, 2023, and the pretrial conference will be on November 13, 2023, at 8:30 a.m.,

followed immediately by jury selection and trial.

         SO ORDERED.

         October 30, 2023.


                                              BARBARA M. G. LYNN
                                              SENIOR UNITED STATES DISTRICT JUDGE
